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Moog Inc. v. Skyryse, Inc. et al; Case No. 2:22-cv-09094-GW-(MARx)
Court’s Thoughts on Joint Report Regarding Meet and Confer on Search Terms and Other Issues
Set Forth in the Court’s Order at Dkt. 564 (Docket No. 601)


I.        Background
            On June 30, 2023, the Court issued its Final Ruling on Plaintiff and Counterdefendant
Moog Inc.’s (“Moog”) Motion to Enforce Compliance with the March 11, 2022 Stipulated TRO
(Dkt. 25), and for Monetary and Adverse Inference Sanctions for Contempt and Spoliation. See
Final Ruling on Plaintiff’s Motion to Enforce Compliance (the “Order”), Docket No. 564. Among
other things, the Court ordered Defendant/Counterclaimant Skyryse, Inc. (“Skyryse”) to produce
complete forensic images of Lori Bird and Reid Raithel’s Skyryse-issued laptops. See id. at 11.
In addition, the Court ordered Moog and Skyryse to meet and confer regarding search terms to run
across Skyryse’s Polarion Repository, Git Repository, and Google Drive Account folders. See id.
            While the parties have been able to resolve many disputes in response to the Order, three
issues remain outstanding per the parties’ joint report. See Joint Report Regarding Meet and
Confer on Search Terms and Other Issues Set Forth in the Court’s Order at Dkt. 564 (“Joint
Report”), Docket No. 601. First, Moog contends that the forensic image of Mr. Raithel’s laptop
is “far from complete.” Id. at 2.1 Second, the metadata in Skyryse’s Google Drive Account is not
searchable. Id. at 3. Third, Moog prepared a list of 437 proposed search terms to run across the
repositories noted above and Skyryse objects to 21 of those terms. Id. at 3-4.
            Finally, Moog requests that the Court schedule a hearing on these outstanding issues. Id.
at 4. Because the parties currently have a hearing scheduled on August 24, 2023 for Skyryse’s
motion for Rule 72(a) reconsideration of Magistrate Judge Margo A. Rocconi’s June 14, 2023
order, see Docket No. 555, Moog requests an August 24 hearing. See Joint Report at 4.
Additionally, on August 17, 2023, Skyryse filed an ex parte application for leave to file a
supplemental statement in support of its portion of the Joint Report. See Docket No. 606. Moog
filed an opposition on August 18, 2023, see Docket No. 607, and this Court denied Skyryse’s
request on August 21, 2023, see Docket No. 608.




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          Moog does not challenge the forensic image of Ms. Bird’s laptop. See generally id.


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II.   Discussion
       As a preliminary matter, the parties’ request for court intervention appears premature. For
example, with respect to Mr. Raithel’s laptop, Skyryse states that it is still “in the process of
determining whether any additional responsive, non-privileged information resides on Mr.
Raithel’s laptop that can be collected, including any that post-dates the image, and will produce
any such information as appropriate.” Joint Report at 26. Additionally, with respect to the Google
Drive Account, “four days ago,” Moog “proposed multiple methods in which metadata can be
searchable through Google Drive without having to process the entire repository.” Id. at 12, 22.
Skyryse, however, is “still investigating these proposed tools.” Id. at 22.
       Nevertheless, the Court will briefly address the three outstanding issues below.
       A.    Reid Raithel’s Laptop
       Pursuant to the Court’s Order, Skyryse produced an image of Mr. Raithel’s laptop to iDS
on July 28, 2023. Id. at 25. Moog, however, contends that Skyryse did not produce a complete
forensic image of Mr. Raithel’s Skyryse-issued laptop. Id. at 5. According to Skyryse, the images
provided to iDS were made by Skyryse’s e-discovery vendor, FTI, using Cellebrite Digital
Collector (“DC”). Id. at 25. Skyryse avers that “DC is limited to collecting an image at a logical
level when used to image certain Apple computers, specifically Apple computers such as Mr.
Raithel’s running the 12.0 version of macOS.” Id. at 25-26. Nevertheless, Skyryse contends that
“the logical level image from DC still collected all of the user-created data on Mr. Raithel’s
computer.” Id. at 26. Moog also has concerns about the date the image was created. Id. at 5.
       Notwithstanding the above, “Skyryse has [purportedly] represented to Moog that Mr.
Raithel’s actual laptop has been collected and therefore could be re-imaged as a complete forensic
image per the Court’s June 29 Order.” Id. at 7. Further, as noted above, Skyryse states that it “is
in the process of determining whether any additional responsive, non-privileged information
resides on Mr. Raithel’s laptop that can be collected, including any that post-dates the image, and
will produce any such information as appropriate.” Id. at 26.
       In addition, after submitting the Joint Report, Skyryse filed an ex parte application to
“correct” two statements in Moog’s portion of the Joint Report. See Docket No. 606 at 2. Skyryse
disputes: (1) that Mr. Raithel’s laptop is missing email files and (2) that Moog raised this issue in
the course of the parties’ meeting and conferring. Id.
       Regardless of the validity of these contentions, Skyryse has already asserted in its proposed


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supplemental statement that it would “work with its forensic vendor to investigate Moog’s new
complaints, and will meet and confer again as necessary to attempt to reach resolution with Moog.”
Id., Ex. A at 2. At this point, assuming Skyryse is in possession of Mr. Raithel’s actual laptop, the
Court would order Skyryse to re-image the laptop and produce it to iDS within 14 days of this
Order. If the laptop cannot be re-imaged, then Skyryse should continue its review of Mr. Raithel’s
laptop, including working with its forensic vendor to investigate Moog’s complaints of missing
data, and produce any responsive, non-privileged information to Moog.
        B.     Search Terms
        Next, Moog proposed a total of 437 search terms to run across Skyryse’s Polarion
Repository, Git Repository, and Google Drive Account folders. Id. at 14. However, the parties
remain at an impasse regarding some of Moog’s 437 proposed search terms to run across Skyryse’s
Git Repository and Google Drive Account. Id. at 13-14.2 Specifically, Skyryse objects to 21 of
those terms “based on alleged overbreadth and burden.” Id. at 14. In response, Skyryse has offered
to apply all but 15 of Moog’s search terms. Id. at 19.
        As such, only 15 (as opposed to 21) of Moog’s 437 proposed search terms remain at issue.
Moog should come prepared to discuss whether it is amenable to this compromise (i.e. to run 422
of Moog’s search terms across Skyryse’s Git Repository and Google Drive Account).
        C.     Google Drive Account
        Finally, in lieu of producing Skyryse’s entire Google Drive Account, the Court ordered the
parties to meet and confer regarding a set of search terms, including search terms to locate
schematics and other images/drawings, to run across the Google Drive Account folders that were
accessed by Hummingbird personnel, former Moog employees, or other identified Skyryse
personnel. See Order at 8. The Court ordered this, in part, because of Skyryse’s counsel’s
representations at the June 29, 2023 hearing that “[s]earch terms work.” See Docket No. 570 at
15:15-18.
        Now, however, it is clear that metadata is not searchable, at least currently, within the
Google Drive Account. See Joint Report at 10, 21. To apply the search terms to the Google Drive
metadata, Skyryse asserts that “all of the 9.48 terabytes of files from that drive would need to be



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     According to the Joint Report, the parties “have reached an agreement on the searching methodology and search
terms to be run across Skyryse’s Polarion repository.” Id. at 14.


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loaded into a new e-discovery database, regardless of their relevance to this case, and then they
would need to be processed for privilege and relevance.” Id. at 21 (emphasis in original).
According to Skyryse’s vendor, “the additional cost just to process and host the Google Drive files
on a review database to permit keyword searching of their metadata would be roughly $250,000.”
Id.
       As a workaround to this problem, Skyryse proposes running the final set of search terms
against all of the contents and file names of the files in the Google Drive Account. Id. at 21-22.
This approach would no longer limit the search to folders accessed by Hummingbird personnel,
former Moog employees, or other identified Skyryse personnel, as originally ordered. Order at 8.
In addition, as noted above, Moog proposed several other tools that might be used to search
metadata within the Google Drive Account. Joint Report at 22. Although Skyryse is still
investigating these options, it indicated that none appear to be workable. Id.
       Moog responds that Skyryse should be ordered to apply the search terms to all available
metadata for documents stored in the Google Drive Account. Id. at 13. Alternatively, Moog
requests “Skyryse to produce log files for each of the individuals at issue (Hummingbird personnel,
former Moog personnel, and other identified Skyryse personnel) so that Moog can review and
request production of particular files.” Id.
       At this point, the Court would order Skyryse to continue investigating the tools that may
enable it to search metadata through the Google Drive Account without having to process the entire
repository. See id. at 12. Assuming these methods are unworkable (as Skyryse suggests), the
Court would order Skyryse to: (1) run the final set of search terms against all of the contents and
file names of the files in the Google Drive Account and (2) produce log files for each of the
individuals at issue (Hummingbird personnel, former Moog personnel, and other identified
Skyryse personnel) so that Moog can review and request production of particular files.
III. Conclusion
       Based on the foregoing discussion, the parties should come prepared to discuss these issues
and proposed solutions at the August 24, 2023 hearing.




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